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 1   LAW OFFICES OF CHRIS COSCA
     CHRISthCOSCA (SBN 144546)
 2   1007 7 Street, Suite 210
     Sacramento, CA 95814
 3   (916) 440-1010
 4   Attorney for Defendant
     KENNETH GEORGE EATON
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 6
                                 IN THE UNITED STATES DISTRICT COURT
 7
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
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 9
     UNITED STATES OF AMERICA,                              )    No. 2:11-cr-00323 JAM
10                                                          )
                    Plaintiff,                              )    STIPULATION AND ORDER TO
11                                                          )    MODIFY RELEASE CONDITIONS
            vs.                                             )
12                                                          )
     KENNETH GEORGE EATON,                                  )
13                                                          )
                                                            )
14                  Defendant.                              )
15
16                                              Background
17          On September 23, 2011, Magistrate Judge Gregory G. Hollows ordered defendant
18   Kenneth Eaton released on a $500,000.00 bond secured by two properties: 1) A vacant lot owned
19   free and clear with a recent appraised value of $210,000.00 (“The Spitzer Property”); and 2) A
20   single family residence owned by the defendant’s father, Fred Eaton, with equity in the amount
21   of $57,000.00 (“The Eaton Property”). The Court ordered an unsecured bond as to the remaining
22   portion not covered by the equity in these properties. The Court further ordered that the sureties
23   in this matter must sign a “Vaccoro” bond declaration acknowledging their property can be
24   forfeited if the defendant violates any condition of release. Fred Eaton died on October 5, 2011.
25                                              Stipulation
26          Given the recent death of the defendant’s father and the related complications and delays
27   this has caused in obtaining required paperwork and clear title for The Eaton Property, the parties
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 1   stipulate and agree (with the consent of Pretrial Services through Beth Baker) to modify the
 2   conditions of release as follows:
 3   1. Kenneth Eaton shall be released on a $500,000.00 bond secured by The Spitzer Property;
 4   2. The remaining portion not secured shall be covered by an unsecured bond.
 5   3. The sureties in this matter must sign a “Vaccoro” bond declaration acknowledging their
 6      property can be forfeited if the defendant violates any condition of release.
 7   4. The Eaton Property shall be posted as additional security for the $500,000.00 bond as soon as
 8      possible, not to exceed one month from the date of this order. Should further time be needed
 9      to obtain documents and clear title, defendant Kenneth Eaton reserves the right to request
10      additional time to complete the bond package.
11
12   The undersigned have authorized Chris Cosca to sign this stipulation on their behalf.
13
14   DATED: October 11, 2011                      by:     /s/ Chris Cosca
                                                          CHRIS COSCA
15                                                        Attorney for Defendant
16                                                        KENNETH GEORGE EATON

17   DATED: October 11, 2011                      by:     /s/ Jared Dolan
                                                          JARED DOLAN
18                                                        Assistant U. S. Attorney
19
20                                               ORDER
21      Kenneth Eaton shall be released on the following conditions:
22   1. A $500,000.00 bond secured by The Spitzer Property;
23   2. The remaining portion not secured shall be covered by an unsecured bond;
24   3. The sureties in this matter must sign a “Vaccaro” bond declaration acknowledging their
25      property can be forfeited if the defendant violates any condition of release; and
26   4. The Eaton Property shall be posted as additional security for the $500,000.00 bond as soon as
27      possible, not to exceed one month from the date of this order. Should further time be needed
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 1      to obtain documents and clear title, defendant Kenneth Eaton reserves the right to request
 2      additional time to complete the bond package.
 3   5. All other special conditions of release remain in place.
 4
 5   DATED: October 11, 2011
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